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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :
                                             :       Case No.: 21-cr-451 (CJN)
               v.                            :
                                             :
SUZANNE IANNI,                               :
                                             :
                      Defendant.             :

                                 NOTICE OF APPEARANCE

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, informs the Court that Assistant United States Attorney Stuart D. Allen,

who may be contacted by telephone at (202) 252-7794 or by e-mail at Stuart.Allen@usdoj.gov, is

entering his appearance as counsel for the United States.



Date: July 21, 2021                                Respectfully submitted,

                                                    CHANNING D. PHILLIPS
                                                    Acting United States Attorney
                                                    D.C. Bar No. 415793

                                                 By: /s/ Stuart D. Allen
                                                     Stuart D. Allen
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                                                     4839932
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